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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON


CRAFTED APPAREL, LLC, an                      3:15-cv-01493-BR
Oregon limited liability
company,                                      ORDER

             Plaintiff,

v.

POW, INC.,

             Defendant.



BROWN, Judge.

     This matter comes before the Court on Plaintiff's Motion

(#12) for Default Judgment in which Plaintiff seeks $108,802.74

in damages on Plaintiff's claim for breach of contract (including

pre-judgment interest), $2,100,000.00 in damages on Plaintiff's

claim for anticipatory breach of contract, and costs in the

amount of $696.80.

     Federal Rule of Civil Procedure 55(b) (2) authorizes the

Court to enter a default judgment after an order of default has

been entered by the Clerk of the Court.         The court must consider


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the following factors when determining whether to enter a default

judgment:

              Factors which may be considered by courts in exercising
              discretion as to the entry of a default judgment
              include: (1) the possibility of prejudice to the
              plaintiff, (2) the merits of plaintiff's substantive
              claim, (3) the sufficiency of the complaint, (4) the
              sum of money at stake in the action; (5) the
              possibility of a dispute concerning material facts;
               (6) whether the default was due to excusable neglect,
              and (7) the strong policy underlying the Federal Rules
              of Civil Procedure favoring decisions on the merits.

Eitel v. McCool,      782 F.2d 1470, 1471-72 (9th Cir. 1986).              See

also Lasheen v. Embassy of The Arab Republic of Egypt, 625 F.

App'x 338, 340 (9th Cir. 2015).

      "'The general rule of law is that upon default the factual

allegations of the complaint, except those relating to the amount

of damages, will be taken as true.'"            Rubicon Global Ventures v.

Chongquing Zongshen Group Import/Export Corp.,              630 F. App'x 655,

658 (9th Cir. 2015) (quoting Geddes v. United Fin. Grp., 559 F. 2d

557, 560 (9th Cir. 1977)).          "Upon entry of default, a plaintiff

is required to prove the amount of his damages, because neither

the default nor the allegations in the complaint can establish

the amount of damages."           Lasheen, 625 F. App'x at 341.         "The

district court may determine the amount of damages without an

evidentiary hearing where 'the amount claimed is a liquidated sum

or capable of mathematical calculation.'"              Lasheen, 625 F. App'x

at 341 (quoting Davis v. Fendler,          650 F.2d 1154, 1161 (9th Cir.

1981) .

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        The Clerk entered a default as to Defendant on January 6,

2016.        The Court has considered each of the factors outlined in

Eitel and concludes entry of a default judgment in favor of

Plaintiff is appropriate and that the amount of damages owed is

capable of mathematical calculation.

        Nonetheless, the Court also concludes Plaintiff is not

entitled to the full amount requested.           In short, in 2013

Plaintiff sold to Defendant assets that Plaintiff owned in Holden

Outerwear, an outdoor clothing company.            In the Asset Purchase

Agreement (APA) executed between Plaintiff and Defendant, the

parties agreed Defendant would pay Plaintiff 5% of Defendant's

annual net revenue from the sales of products relating to Holden

up to an "amount not to exceed $2,200,000."             Hansen Deel.      (#13-1)

Ex. A, at 10.        Although the APA contemplated Defendant making

payments to Plaintiff annually based on revenues from Holden, it

also set minimum payments that Defendant was required to make to

Plaintiff for the first three years of the agreement:

        a)      Fiscal Year Ending April 30, 2015 - $100,000.00

        b)      Fiscal Year Ending April 30, 2016 - $125,000.00

        c)      Fiscal Year Ending April 30, 2017 - $150,000.00

Id.     After the fiscal year ending April 30, 2017, however,

Defendant was not required to make any minimum payment to

Plaintiff.        Defendant, however, was still required to fulfill its

obligation to pay 5% of annual Holden-related revenues until it


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reached a total of $2.2 million paid.

     Defendant did not make its minimum payment of $100,000.00 on

April 30, 2015.    Shortly thereafter counsel for Defendant

notified Plaintiff that Defendant had ceased all operations,

terminated all employees, and only      ~remains    as a shell company

with significant liabilities and no capacity to pay them."

Henderson Deel.    (#14-1) Ex. A.   Moreover, Plaintiff has not

submitted any evidence from which the Court could conclude

Defendant will have any future revenues related to the sale of

Holden products.    Plaintiff, therefore, has not established

entitlement to any damages beyond the minimum payments that

Defendant was required to make for fiscal years ending April

2015, 2016, and 2017 because any such payments were contingent on

Defendant receiving revenue related to the sale of Holden

products.

     Moreover, Plaintiff did not submit any documentation

supporting the $696.80 that it seeks in court costs.             The Court,

therefore, cannot award those costs to Plaintiff at this time.

     Accordingly, on this record the Court GRANTS in part and

DENIES in part Plaintiff's Motion (#12) for Default Judgment.

The Court concludes Plaintiff is entitled to a default judgment

in the amount of $108,802.74 in damages on Plaintiff's claim for

breach of contract (including pre-judgment interest) and

$275,00.00 in damages related to Plaintiff's claim for


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anticipatory breach of contract.      The Court also grants Plaintiff

leave to file a separate Bill of Costs with supporting

documentation no later than May 16, 2016.

     IT IS SO ORDERED.

     DATED this 26th day of April, 2016.




                                       MARCO
                                            Mavt:4''~
                                               A.1{~      for
                                       ANNA J. BROWN
                                       United States District Judge




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